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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF ARKANSAS
                                            CENTRAL DIVISION

IN RE: SABRINA DICKERSON                                                                       CASE NO: 4:21-bk-12540 J
       DEBTOR                                                                                             CHAPTER 13


                                  CHAPTER 13 ORDER DISMISSING CASE
                               FOR VIOLATING STRICT COMPLIANCE ORDER

    COMES NOW THE COURT and finds that an order was entered in the above styled case on April 13, 2023,

Docket Entry 92, requiring the debtor to make specific payments to the Trustee. The order further provided that the

case was to be dismissed if payments were not submitted as required. The court finds that the payments have not been

submitted as required and, therefore, the case should be, and hereby is, dismissed for failure of the debtor to comply

with the court's order of April 13, 2023.

    IT IS SO ORDERED.



Date: September 12, 2023                                            /s/ Phyllis M. Jones
                                                                    Phyllis M. Jones
                                                                    United States Bankruptcy Judge



cc: Joyce Bradley Babin, Trustee

     Lyndsey D. Dilks
     Dilks Law Firm
     P O Box 34157
     Little Rock, AR 72203

     Sabrina Dickerson
     5 Laramie Cove, Apt. A
     Sherwood, AR 72120




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